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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

                                                 §
THE STATE OF TEXAS and                           §
                                                 §
THE STATE OF MISSOURI,                           §
                                                 §
        Plaintiffs,                              §   Case No. 2:21-cv-00067-Z
                                                 §
v.                                               §
                                                 §
JOSEPH R. BIDEN, JR., in his official capacity   §
as President of the United States of             §
America, et al.,                                 §
                                                 §
        Defendants.                              §

                          PLAINTIFFS’ MOTION
            TO POSTPONE THE EFFECTIVE DATE OF AGENCY ACTION
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I. Defendants fail to show that the October 29 Memoranda reasonably considered all the
   relevant factors.

        Defendants’ arguments that the October 29 Memoranda “reasonably considered the relevant

issues and reasonably explained the decision,” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158

(2021), starts with two pages of assertions that DHS considered certain items and then concluded that

it should terminate MPP. See Opp’n 23–24. But saying something “was considered is not enough to

show reasoned analysis.” Texas v. Biden, 10 F.4th 538, 555 (5th Cir. 2021) (per curiam). Instead, what

is noteworthy about Defendants’ argument is what it concedes—that MPP does prevent at least some

illegal migration. See Opp’n 24 (noting “the Secretary concluded that MPP had mixed effectiveness”).

        First is the States’ claim that the October 29 Memoranda ignore DHS’s mandatory detention

obligations. Per 8 U.S.C. §1225(b)(2)(A), an alien “seeking admission [who] is not clearly and beyond

doubt entitled to be admitted ... shall be detained for a proceeding under section 1229a of this title.”

“Read most naturally, [the statute] mandate[s] detention ... .” Jennings v. Rodriquez, 138 S. Ct. 830, 842

(2018). There are two exceptions to detention that DHS may, in its discretion, use—parole and, for

aliens arriving from a contiguous territory like Mexico, return to that territory (e.g., MPP). See Biden v.

Texas, 142 S. Ct. 2528, 2543–44 (2022) (noting those two options); id. at 2548 (Kavanaugh, J.,

concurring). The States’ argument is straightforward: Before deciding to terminate MPP—i.e., the first

discretionary option—the Government had to consider the effect of the termination on its ability to

meet its mandatory detention duties. See Stay Motion 9–10. Given the statutory mandate to detain, it

blinks reality to believe that is not “an important aspect of the problem” that DHS had to consider.

Motor Vehicle Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).

        Defendants argue that the States “theory is simply the same argument the Supreme Court

already rejected”: that DHS must either detain all arriving aliens or require them to remain in Mexico.

Opp’n 25–26. Not so. However DHS exercises its discretion, the exercise of that discretion must “be

reasonable and reasonably explained.” Biden III, 142 S. Ct. at 2548–49 (Kavanaugh, J., concurring); see


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also id. at 2543 (“DHS’s exercise of discretion within that statutory framework must be reasonable and

reasonably explained.”). So that DHS may release some aliens instead of detaining them or returning

them to Mexico—which is the sum total of Defendants’ argument—does not mean it sufficiently

explained why it has done so here.

         Defendants thus overstate their case when they say that “the Secretary did consider Section

1225(b)(2)(A).” Opp’n 26. He did, but only to conclude that he did not need to detain all inadmissible

aliens. See id. (discussing how the October Memoranda “discuss[] how reading Section 1225 to impose

a near-universal mandate is inconstant” with the Secretary’s interpretation of the law). That logic only

permits him to terminate MPP; it does not mean he reasonably did so in the October Memoranda. In

short, a reasonable termination would address the fact that terminating MPP affects DHS’s ability to

comply with its mandatory detention requirements in §1225. The October Memoranda do not.

         Second is the Secretary’s weighing of the benefits and harms of rescinding MPP. See Opp’n 27–

30. Defendants claim, first, that the States’ argument is that the Secretary failed to consider points he

actually considered, see, e.g., Opp’n at 28–29 (“There is thus no basis for Plaintiffs’ claim that the

Secretary did not consider harms that might be avoided by deterring individuals from making the journey

to the southern border.”) (emphasis added); id. at 29 (“The Secretary also addressed this issue.”),

second, that the States ignore alternative methods to deter illegal border crossings, see id. at 28, ignore

hardships the program imposes on migrants, see id. at 30, or fail to provide alternative data, see id. at

29–30.

         But the States’ argument is not that the Secretary categorically failed to consider factors or that

there are no alternative policies. The States’ argument is that the Secretary failed “to adequately account

for” the program’s benefits. Stay Motion 10 (emphasis added). 1 That is, the failure is an analytical


         1
          Defendants appear to claim that the States are pressing claims to third parties by bringing up
the benefit MPP provided in deterring migrants from making the dangerous journey to the United
States. See Opp’n 28 n.6. Not so. The States point that out as a benefit the Secretary failed to consider,


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one—the Secretary failed to balance in any rational way the benefits of MPP as compared to

eliminating the program. Defendants do not address that argument. Indeed, Defendants’

acknowledgment that “the Secretary ‘presumed ... that MPP contributed to decreased migration flows”

establishes that the States are correct. Opp’n 27 (emphasis added) (quoting AR27). Absent some

quantification, presumptions are empty—and the Secretary certainly never quantified the benefit he

presumed MPP provided. Indeed, he says such quantification is impossible. See AR27.

        The incentive to stack the deck in favor of termination—by expressly presuming a benefit

while implicitly presuming that the benefit is small, or always outweighed by countervailing factors—

is plain. Thus, Defendants arguments here either ignores the actual issue before the agency—for

example, that “DHS has other avenues for quickly process, and thereby deterring” individuals without

meritorious asylum claims, Opp’n 28, says nothing about the deterrent effect of those avenues versus

MPP—or constitute mere assertion—for example, saying MPP “led to individuals with meritorious

asylum claims abandoning them and imposed additional costs that far outweighed whatever effects

MPP had on non-meritorious claims,” Opp’n 29, is a conclusion, not a reason. That the Secretary

admittedly used data that “are not necessarily indicative” of the harms of human trafficking—and,

thus, a benefit that MPP provided by deterring such trafficking—highlights that what the Secretary

engaged in was motivated reasoning, not reasonable decision-making. See Dep’t of Commerce v. New York,

139 S. Ct. 2551, 2574–75 (2019) (requiring reasoned decision-making even for decisions driven by

“policy preferences”).

        Regardless, the Fifth Circuit has already rejected that DHS considering alternatives “outside

the ambit of the existing policy,” such as the “Dedicated Docket” program, satisfies the requirements

of reasoned decisionmaking; also “neither the June 1 Memorandum nor the Government in its stay



and they have standing to raise that procedural injury since it affects the States’ concrete interests, see
supra. See Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009).


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motion explains why MPP and the ‘Dedicated Docket’ are mutually exclusive.” See Texas v. Biden, 10

F.4th 538, 555 (5th Cir. 2021) (per curiam) (denying stay on August 19—before the October 29

Memoranda). The October 29 Memoranda exhibit the same errors.

        In short, the Secretary’s presumption that MPP had some benefit is no different from “stating

that an alternative was considered,” and neither is “enough to show reasoned analysis.” Texas v. Biden,

10 F.4th at 555.

        Third, Defendants attempt to justify using a new, higher rate of in absentia removals fails.

Indeed, it undermines Defendants’ argument. As the Secretary acknowledges, MPP deters non-

meritorious asylum claims. See AR25 (saying the program was “deterring non-meritorious claims”).

That is, the States and this Court are correct that “the increased in absentia removal rates for aliens”

indicates that MPP is working. Stay Motion 12; ECF 94 at 40–41; see also AR23 (“The fact that in

absentia removal order rates (and in absentia removal order rates plus termination rates) were

considerably higher for MPP cases than for comparable non-MPP cases might not, by itself, indicate

a problem with MPP.”); cf. AR25 n.89 (noting that “implicit” in the claim that MPP deterred aliens

from asserting asylum claims, “many of which may be meritless” is that “some such claims do have

merit”) (emphasis omitted).

        DHS never addresses that fact except to say that “that the program deterred too many

meritorious asylum claims at the expense of deterring non-meritorious claims.” AR25. And in its

opposition, Defendants just reiterate that claim. See Opp’n 32. But nowhere has any federal actor

quantified, estimated, or made any attempt to show how many deterred meritorious asylum claims

there are. DHS, to be sure, did not need “to conduct or commission [its] own empirical or statistical

studies” as a general matter. Prometheus Radio Project, 141 S. Ct. at 1160. But if it does not, then it should

not do what the Secretary did here: Compare anecdotes (here, that MPP deterred meritorious claims,

see AR 24 & nn.84–85) with hard numbers (here, the rate of in absentia orders) especially where the



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hard numbers and the anecdotes are not clearly comparable. That is so because the anecdotes--while

showing that some aliens abandoned or lost their claims due to conditions in Mexico—do not

establish that those claims were meritorious. So, too, for that matter, is the raw rate of in absentia

orders; those contains some unknown mix of meritorious and non-meritorious claims. To conclude

from them that the rate of deterrence of meritorious claims is high relative to non-meritorious claims

given what those data points say is the opposite of reasoned decisionmaking. See Biden II, 20F.4th at

992 (“We fault DHS for cherry-picking a single statistic from the administrative record and relying on

it in an entirely nonsensical fashion.”).

        If more proof is necessary that the Secretary’s analysis is motivated reasoning and not rational

decisionmaking, consider the claim that “a ‘remarkably low 1.1 percent’ of individuals placed in MPP

were granted relief or protection, a substantially lower rate of relief—‘26 times’ lower—than expected

when compared to similar individuals not placed in MPP, lend[s] further support to the conclusion

that MPP caused individuals with potentially meritorious claims to abandon them.” Opp’n 31 (quoting

AR24–25). That claim is flawed. For one, the Secretary’s analysis fails to account for the possibility

that individuals in MPP and those not in MPP are likely different.

        Moreover, the Secretary inflates the difference in that rate, for the “26 times” statement is

misleading. As the Secretary acknowledges in footnote 87, relief grant rates for both groups are “low,”

AR24 n.79, so what constitutes a 26-times difference in the rate of relief as a percent translates into a

difference of 16 individuals in every 1,000—that is, something that is much more likely explainable by

group differences and not the fact that MPP deterred meritorious asylum claims. Indeed, that

difference may be fully explainable by the fact the Secretary’s analysis looked at “relief and protection

from removal,” which encompasses more than just grants of asylum. AR24 & n.87. Thus, the 16-

person difference in relief between MPP and non-MPP participants is just as likely the result of non-

MPP participants receiving non-asylum relief at a higher rate as it is anything else. In all events, the



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numbers the Secretary used in no way suggests that MPP resulted in higher rates of aliens abandoning

or losing meritorious asylum claims.

        In short, the Secretary failed to link the high in absentia removal rate for aliens enrolled in MPP

and his claim that the program deterred too many meritorious asylum claims compared to non-

meritorious ones. All that this shows is that the program deterred non-meritorious asylum claims,

even if it deterred some unspecified number of meritorious ones. 2 As a result, the Secretary failed “to

appreciate the relevant costs and benefits of MPP” and so failed to make “a reasoned determination.”

Stay Motion 12.

        Fourth, Defendants avoid the fact that the Secretary ignored the limits on DHS’s parole

authority in terminating MPP. Defendants do not contest that “DHS is presently releasing into the

country tens of thousands of individuals per month through parole and otherwise.” Stay Motion 18.

Defendants claim that the States failed to provide evidence “that DHS is not making parole decisions

on a case-by-case basis.” Opp’n 34. The proof is in the numbers—to believe that DHS is actually

engaging in a case-by-case evaluation for parole requires “a naiveté from which ordinary citizens are

free.” Dep’t of Commerce, 139 S. Ct. at 2575 (quoting United States v. Stanchich, 550 F.2d 1294, 1300 (2d

Cir. 1977)).

        Indeed, that Defendants do not say that DHS is processing parolees on a case-by-case basis speaks

volumes. Defendants are the ones who can show DHS is making parole decisions case-by-case, and

their failure to make that claim and support it with evidence is damning. What is arbitrary and


        2
          Defendants’ focus on defending the methodology of calculating in absentia orders, see Opp’n
31–32, or comparing those orders to prior years, see id. at 32, do not address the underlying logic of
the Secretary’s analysis. Furthermore, that the Secretary’s method for calculating 2015 and 2017 in
absentia case rates lowers the percentages may well be suspect. The Secretary says that the recalculation
compares in absentia orders to “total cases referred to EOIR in those years . . . .” AR23 n.82. “Total”
cases include cases that are “completed” and “ongoing.” Id. (emphasis omitted). Logically, some cases
that were referred to the EOIR in 2015 and 2017 were completed in a later year; the Secretary,
however, does not say what year those cases were counted, or how that would affect the analysis. So,
the recalculation adds little to the analysis.


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capricious is the failure to address how the termination of MPP affects Defendants’ ability to make

case-by-case determinations for parole.

        With that, Defendants’ arguments on this point fall apart. Whatever the scope of DHS’s

discretion to parole aliens and whatever role detention capacity can play in that decision, “the authority

is not unbounded: DHS may exercise its discretion to parole applicants ‘only on a case-by-case basis

for urgent humanitarian reasons or significant public benefit.’” Biden, 142 S. Ct. at 2543 (quoting 8

U.S.C. §1182(d)(5)(A)). Choosing to terminate MPP when DHS admittedly lacks the capacity to detain

all alien migrants is an implicit choice to parole those migrants—that is, to make a categorical parole

decision. That, the agency cannot do; that the agency did not consider that fact in terminating MPP

renders its decision arbitrary and capricious.

        Defendants claim a “consistent interpretation” that empowers them to parole aliens due to

lack of detention capacity. Opp’n 34. Even if there were such consistency, “[a]rbitrary agency action

becomes no less so by simple dint of repetition.” Judulang v. Holder, 565 U.S. 42, 61 (2011); see

also id. (“[L]ongstanding capriciousness receives no special exemption from the APA.”). But the

October Memoranda never address Defendants’ prior determinations that lack of detention space is

not an appropriate reason to parole an alien. See AR159, 161, 163. “An agency’s failure to come to

grips with conflicting precedent constitutes an inexcusable departure from the essential requirement

of reasoned decisionmaking.” Ramaprakash v. FAA, 346 F.3d 1121, 1125 (D.C. Cir. 2003) (internal

quotation marks and citation omitted).

        Finally, Defendants defend their perfunctory evaluation of costs to the States and their reliance

interests. Opp’n 35–40. They argue that Plaintiffs cite no authority that they were required to quantify

the costs to the States. Opp’n 36. But Plaintiffs did so, citing Texas v. United States, 40 F.4th 205, 228

(5th Cir. 2022) (failure to actually “quantify or at least reasonably describe the costs of this policy to

the States” did not satisfy requirement to consider them). And far from Defendants lacking data on



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this issue, Opp’n 36, they had that data readily available to them from the record in this case. See ECF

54; see also ECF 94 at 17–21.

        As for reliance interests, the Fifth Circuit has already held that Plaintiffs had a reliance interest

in MPP’s continuation. “The Supreme Court has recognized that border states ‘bear[ ] many of the

consequences of unlawful immigration.’ It therefore follows that a ‘potential reliance interest’ that

DHS must consider includes Texas.” Texas v. Biden, 10 F.4th 538, 553 (5th Cir. 2021) (per curiam)

(citing Arizona v. United States, 567 U.S. 387, 397 (2012)).

II. No procedural issue precludes this Court’s review.

        A.       Plaintiffs have standing to bring this claim.

        Defendants argue that the Court cannot rely on its previous determination that Plaintiffs had

standing to challenge the termination of MPP. Opp’n at 17. But the determinations by this Court and

the Fifth Circuit were not overruled by the Supreme Court. See Data Mktg. P’ship, LP v. United States

Dep’t of Lab., 45 F.4 th ---, No. 20-11179, 2022 WL 3440652, *5 n.2 (5th Cir. Aug. 17, 2022).

        The Fifth Circuit has held that the law of the case does apply to subject matter

jurisdiction. See Free v. Abbott Labs., Inc., 164 F.3d 270, 272–73 (5th Cir. 1999) (joining other circuits in

refusing to recognize a jurisdictional exception to the law of the case doctrine and explaining that

although a federal court must examine each case to determine the basis for subject matter

jurisdiction, “perpetual re-examination of precisely the same issue of subject matter jurisdiction” is

not required).

        And “the ‘mandate rule,’ a corollary of the law of the case doctrine, ‘compels compliance on

remand with the dictates of a superior court and forecloses relitigation of issues expressly or impliedly

decided by the appellate court.’” Fisher v. Univ. of Texas at Austin, 758 F.3d 633, 639–40 (5th Cir.

2014), aff’d, 579 U.S. 365 (2016) (citation omitted); United States v. Castillo, 179 F.3d 321, 329 (5th Cir.

1999) (“The mandate rule requires a district court on remand to effect our mandate and to do nothing



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else.”) (citing United States v. Becerra, 155 F.3d 740, 753 (5th Cir. 1998)); United States v. Matthews, 312

F.3d 652, 657 (5th Cir. 2002) (on remand the district court “must implement both the letter and the

spirit of the appellate court’s mandate and may not disregard the explicit directives of that

court.”) (quoting United States v. Becerra, 155 F.3d 740, 753 (5th Cir. 1998)). “In implementing the

mandate, the district court must ‘take into account the appellate court’s opinion and the circumstances

it embraces.’” United States v. Lee, 358 F.3d 315, 321 (5th Cir. 2004) (quoting Sobley v. Southern Natural

Gas Co., 302 F.3d 325, 333 (5th Cir. 2002)).

        As the Fifth Circuit’s determinations on standing were not disturbed by the Supreme Court—

which itself “impliedly” determined that standing was satisfied—and its remand was limited to

determining whether the October 29 memoranda were arbitrary and capricious, this Court would

exceed the mandate and violate the law of the case by reexamining standing. See Fisher, 758 F.3d at

640 (“The Supreme Court did not address the issue of standing, although it was squarely presented to

it. Rather, it remanded the case for a decision on the merits …The parties have identified no changes

in jurisdictional facts occurring since briefing in the Supreme Court.”).

        Even though the impact of the termination of MPP by the October 29 Memoranda can be no

different from the previous termination due to new reasons given, Defendants argue that because it

is not the identical action, the standing inquiry must start over. Opp’n 17. But “because injury must

only be fairly traceable to the challenged conduct, plaintiffs need not connect the exact time of their

injuries with the exact time of an alleged violation.” Env’t Texas Citizen Lobby, Inc. v. ExxonMobil Corp.,

--- F.4th ---, No. 17-20545, 2022 WL 3723116, at *4 (5th Cir. Aug. 30, 2022) (cleaned up). “Article III

is satisfied if [the challenged action] were “of a type that ‘causes or contributes to the kinds of injuries

alleged by the plaintiffs.’” Id. (emphasis added) (rejecting the view that “Article III requires plaintiffs

to show that each challenged [action] is a but-for cause of their injuries.”).

        Defendants’ remaining arguments on this issue are just a regurgitation of their disagreement



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with this Court’s prior determinations, and that of the Fifth Circuit. Opp’n 18–20. There is no

justification to ignore the binding determinations in this case finding that Plaintiffs have standing to

challenge the termination of MPP.

        B.      The October 29 Memoranda are subject to judicial review.

             1. A stay of the agency action here does not violate the restrictions on injunctive
                relief in 8 U.S.C. § 1252(f)(1).

        Defendants argue that, even under Section 705 is not precluded by 8 U.S.C. § 1252(f)(1), there

are problems with Plaintiffs obtaining relief here.

        They argue that such stays are limited to being granted against agency adjudications (orders)

rather than “policies” (rules), Opp’n 11, and that relief may not be granted here because the

termination of MPP has already gone into effect. Opp’n 14–16. But courts routinely grant stays under

Section 705 of agency rules, and after the effective date of the action. See, e.g., West Virginia v. EPA,

577 U.S. 1126 (2016) (mem.) (stay issued under Section 705 on Feb. 9, 2016, against agency rule with

effective      date     of      December         22,       2015.     80       Fed.      Reg.      64,662);

Wages & White Lion Invs., LLC v. United States FDA, 16 F.4th 1130 (5th Cir. 2021) (stay issued under

Section 705 on October 26, 2021, against agency action effective on September 14, 2021); Texas v.

United States EPA, 829 F.3d 405 (5th Cir. 2016) (stay issued under Section 705 on July 15, 2016, against

agency rule with effective date of February 4, 2016, 81 Fed. Reg. 296-01); BST Holdings, L.L.C. v.

Occupational Safety & Health Admin., United States Dep’t of Lab., 17 F.4th 604 (5th Cir. 2021) (stay issued

under Section 705 on November 12, 2021, against agency rule with effective date of November 5,

2021, 86 Fed. Reg. 61,402).

        Section 705 may be applied to “rules” because any “agency action” is subject to it, 5 U.S.C. §

705, and “agency action” is defined as including a “rule.” 5 U.S.C. § 551(13). And the cases Defendants

cite as restricting relief under Section 705 before the effective date of the action involve agencies

postponing their own rules. Opp’n 14–16. But the authorities they cite point out that this limitation


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does not apply to courts because “Section 705 confers a broader authority on reviewing courts,

permitting the court ‘to postpone the effective date ... or to preserve status or rights pending conclusion

of the review proceedings.’” Ctr. for Biological Diversity v. Regan, No. CV 21-119 (RDM), 2022 WL

971067, at *21 (D.D.C. Mar. 30, 2022). This limitation on agencies lies because “[a]dministrative

agencies are creatures of statute [and] accordingly possess only the authority that Congress has

provided.” Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab., Occupational Safety & Health Admin., 142 S. Ct. 661,

665 (2022). Courts, however, have inherent authority to stay agency action to facilitate judicial review.

Nken v. Holder, 556 U.S. 418, 426 (2009). Courts should “not construe a statute to displace courts’

traditional equitable authority absent the clearest command.’” McQuiggin v. Perkins, 569 U.S. 383, 397

(2013) (quoting Holland v. Florida, 560 U.S. 631, 646 (2010)).

         Defendants also maintain that staying the October 29 Memoranda cannot be said to “preserve

status or rights” because it would upset the status quo. Opp’n 16. But the “status quo” is “the last

peaceable uncontested status existing between the parties before the dispute developed.” Wright &

Miller, 11A Fed. Prac. & Proc. Civ. § 2948 (3d ed.) (cleaned up). The Fifth Circuit has held that staying

an agency action—even after the effective date—preserves the status quo ante and is properly imposed

via Section 705. Wages & White Lion Invs., LLC v. United States FDA, 16 F.4th 1130, 1143–44 (5th Cir.

2021).

         Regardless, the effective date of the October 29 Memoranda has yet to arrive. It has yet to be

published in the Federal Register. 5 U.S.C. 553(c) provides, with some exceptions, that “[t]he required

publication or service of a substantive rule shall be made not less than 30 days before its effective

date.” The date when a regulation may “take effect” is not the same as the “effective date.” See

See Liesegang v. Sec’y of Veterans Affairs, 312 F.3d 1368, 1374-75 (Fed. Cir. 2002); Natural Resources Defense

Council v. Abraham, 355 F.3d 179, 202 (2d Cir. 2004); Ctr. for Biological Diversity v. Regan, No. CV 21-119

(RDM), 2022 WL 971067, at *18 (D.D.C. Mar. 30, 2022).



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           The Office of the Federal Register (OFR) uses the term “effective date” to describe the date

that amendments in a rulemaking document affect the current Code of Federal Regulations. See Federal

Register     Document    Drafting    Handbook, at    p.   2-10     (Oct.    10,    1998),     available    at

https://open.defense.gov/Portals/23/Documents/Regulatory/ddh.pdf. However, OFR draws a

contrast between such a date and the compliance or applicability date of a rule, which is described as

“the date that the affected person must start following the rule.” Id. at 2-11. Thus, the “effective date”

of a regulation is commonly used to describe the date by which a provision in the Code of Federal

Regulations is enacted as law, but it is not necessarily the same as the time when provision enacted in

the Code of Federal Regulations is operative on the regulated activity or entity. The latter may be

described as the “compliance,” “applicability,” or “takes effect” date—this is what Defendants are

confusing for the “effective date” of agency action.

           An order staying administrative action does not “enjoin or restrain” the INA’s operation

because a stay alone does not enjoin anything at all. Defendants maintain that even if it does not

“enjoin,” vacatur falls within the term “restrain.” Opp’n 12–13. But “the title of a statute or section

can aid in resolving an ambiguity in the legislation’s text.” INS v. Nat’l Ctr. for Immigrants’ Rights, Inc.,

502 U.S. 183, 189 (1991); see also A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts 221

(discussing the “Title-and-Headings Canon”). And the Supreme Court has found the title of Section

1252(f)(1) relevant to its meaning: “By its plain terms, and even by its title, that provision is nothing

more or less than a limit on injunctive relief.” Reno v. Am-Arab Anti-Discrimination Comm., 525 U.S.

471, 481 (1999). The title of that section is: “Limit on Injunctive Relief: In General.” 8 U.S.C. §

1252(f)(1) (emphasis added) And the term “restrain,” read in context, most naturally applies to

temporary restraining orders under Fed. R. Civ. P. 65(b), which section 1252(b)(1) would prohibit as

it does preliminary or permanent injunctive relief by the lower courts.

           While “[a] stay [of an agency action] pending appeal certainly has some functional overlap with



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an injunction, particularly a preliminary one … [due to both having] the practical effect of preventing

some action before the legality of that action has been conclusively determined,” Nken, 556 U.S. at

428, “a stay achieves this result by temporarily suspending the source of authority to act—the order

or judgment in question—not by directing an actor’s conduct.” Id. at 428–29. Stays of agency action

under section 705 are therefore not coercive, and thus not within the ambit of the injunctive relief

precluded by section 1252(f)(1). See id. at 430 (noting that “the language of [1252](f) says nothing about

stays, but is instead titled ‘Limit on injunctive relief’”).

        It is true that “‘[i]n a general sense, every order of a court which commands or forbids is an

injunction; but in its accepted legal sense, an injunction is a judicial process or mandate operating in

personam.’” Nken, 556 U.S. at 428. “This is so whether the injunction is preliminary or final; in both

contexts, the order is directed at someone, and governs that party’s conduct.” Id. But “instead of

directing the conduct of a particular actor, a stay operates upon the judicial proceeding itself[,] …

either by halting or postponing some portion of the proceeding, or by temporarily divesting an order

of enforceability.” Id.

        Defendants reject the applicability of the Fifth Circuit’s holding that vacatur under Section

706 is not precluded by Section 1252(f)(1). Opp’n 13. But a stay under Section 705 is just an interim

vacatur. It does not have a coercive effect because it nullifies (temporarily) an agency action but has

no coercive effect in personam—unlike with an injunction, when a stay is issued under Section 705, the

agencies are free to undertake the identical action anew, just as when an agency action is vacated.

            2. Judicial review of the agency action here is not otherwise precluded.

        Defendants renew two other arguments against judicial review of the decision to terminate

MPP, Opp’n 21–22: (1) that agency action terminating MPP is “agency action … committed to agency

discretion by law,” 5 U.S.C. § 701(a)(2), and therefore not subject to judicial review; and (2) that the

States’ claims challenging the termination of MPP do not fall within the zone of interests of the INA.



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But this Court has already rejected these arguments. ECF 94 at 31–34. The Fifth Circuit has done the

same, Biden, 20 F.4th at 978–88; id. at 975–76, and that portion of that opinion remains good law. Data

Mktg. P’ship, LP v. United States Dep’t of Lab., 45 F.4 th ---, No. 20-11179, 2022 WL 3440652, *5 n.2

(5th Cir. Aug. 17, 2022). 3

III. Texas and Missouri will suffer irreparable harm if a stay is not granted and the equities
     overwhelmingly favor a stay.

        Defendants repeat their attach on this Court’s previous determinations relating to injury.

Opp’n 40–41, but this attempt should be rejected as it should be for the standing inquiry.

        “[T]he maintenance of the status quo is an important consideration in granting a stay.” Barber v.

Bryant, 833 F.3d 510, 511 (5th Cir. 2016) (quotation omitted). The “public interest is in having

governmental agencies abide by the federal laws that govern their existence and operations.” Biden, 10

F.4th at 559 (quotation omitted). “And ‘there is generally no public interest in the perpetuation of

unlawful agency action.’” Id. at 560 (alteration omitted) (quoting League of Women Voters of U.S. v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)). If Defendants failed to satisfy the requirements of reasoned

decisionmaking, the public interest lies in staying their action.

        Defendants assert that the public interest lies with them because they have found MPP

ineffective. Opp’n 43. “But our system does not permit agencies to act unlawfully even in pursuit of

desirable ends.” Wages & White Lion Invs., LLC, 16 F.4th at 1143 (citation omitted). And the interest


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           Defendants make a convoluted argument that a recent decision of the Supreme Court
construing one provision of the INA (8 U.S.C. § 1252(a)(2)(B)(i)) applies to another (8 U.S.C. §
1252(a)(2)(B)(i)) that would preclude review here. Opp’n at 22 & n.4 (citing Patel v. Garland, 142 S. Ct.
1614, 1622 (2022)). But that decision (1) involved a provision only applicable to individual
determinations of relief, id., which the Fifth Circuit has determined that “the entirety of the text and
structure of § 1252 indicates that it operates only on denials of relief for individual aliens,” Biden, 20
F.4th at 977 (which remains binding law in the Fifth Circuit today, see Data Mktg. P’ship, LP, 2022 WL
3440652, *5 n.2; and (3) came out prior to the Supreme Court’s ruling in Biden III, which proceeded
to not only review the prior agency action terminating MPP, but explicitly ordered the lower courts to
consider whether the new termination violated the APA; it would be strange for the Supreme Court
to do so if such decisions were barred from judicial review by one of its own decisions from a month
earlier, with no mention of it.


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of the Executive in foreign affairs, Opp’n 44–45, is related to every immigration policy; Congress has

an equal interest in seeing that its limits on agency action are upheld.

IV. The stay should not be geographically limited.

        Defendants maintain that any remedy must be limited to the Plaintiff States, Opp’n 41–43,

but—as explained above—a stay under Section 705 is just an interim vacatur. “When a reviewing

court determines that agency regulations are unlawful, the ordinary result is that the rules are vacated—

not that their application to the individual petitioners is proscribed.” Harmon v. Thornburgh, 878 F.2d

484, 495 n.21 (D.C. Cir. 1989); New York v. U.S. Dep’t of Commerce, 351 F. Supp. 3d 502, 672 (S.D.N.Y.

2019) (“[T]he ‘normal remedy’ is to set aside the agency action wholesale, not merely as it applies to

the particular plaintiff or plaintiffs who brought the agency action before the court.”), aff’d in part, rev’d

in part, 139 S. Ct. 2551 (2019).

        The Fifth Circuit recently “reject[ed] DHSs contention that the nationwide vacatur is

overbroad” because “[i]n the context of immigration law, broad relief is appropriate to ensure

uniformity and consistency in enforcement.” Texas v. United States, 40 F.4th 205, 229 n.18 (5th Cir.

2022). Furthermore, “[t]here is a substantial likelihood that a geographically-limited [remedy] would

be ineffective because [aliens] would be free to move among states.” Id. (citing Texas v. United States

(DAPA), 809 F.3d 134, 188 (5th Cir. 2015)).

                                               CONCLUSION

        Plaintiffs respectfully request that the Court stay the October 29 Memoranda that terminate

MPP pending a determination on the merits.




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Dated: September 9, 2022          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I certify that on September 9, 2022, a true and accurate copy of the foregoing document was

filed electronically (via CM/ECF) and served on all counsel of record.

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